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13                       UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
       PATRICIA MITCHELL,
15     Individually as successor in interest to
       Chase Frei, and on behalf of all others
16     similarly situated,

17                         Plaintiff,             Case No. 2:18-cv-05499

18           v.
                                                  NOTICE OF REMOVAL
19     HEALTH NET, INC., HEALTH NET
       LIFE INSURANCE CO., HEALTH NET
20     OF CALIFORNIA, INC., MANAGED
       HEALTH NETWORK, INC., and
21     CENTENE CORP.,

22                         Defendants.

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     1         Pursuant to 28 U.S.C. §§ 1441, 1446, and 1453, Defendants Health Net, Inc.,

     2   Health Net Life Insurance Co., Health Net of California, Inc., Managed Health

  3      Network, Inc., and Centene Corp. ("Defendants") give notice of the removal of the

  4      above-captioned matter to the United States District Court for the Central District
     5   of California. As grounds for removal, Defendants state as follows:
     6   I.    NATURE OF THE REMOVED CASE
     7         1.     On May 22, 2018, Plaintiff filed the action captioned Patricia

     8   Mitchell, individually as successor in interest to Chase Frei, and on behalf of
     9   others similarly situated v. Health Net, Inc., Health Net Life Insurance Co., Health
10       Net of California, Inc., Managed Health Network, Inc., and Centene Corp., in the
11       Superior Court of California, County of Los Angeles. The case was assigned Case

12       Number BC706917.

13             2.     All Defendants were served on May 23, 2018.

14             3.     Plaintiff alleges that she is the successor in interest of her son, Chase

15       Frei. Mr. Frei allegedly purchased an individual PPO policy from Defendants to be

16       effective on January 1, 2016. Compl. f 45.

17             4.     Plaintiff alleges that Mr. Frei was unable to find appropriate in-

18       network care for his substance use disorder, and accordingly he was forced to seek

19       out-of-network care. Id.     50-51.

20             5.     According to the Complaint, Health Net refused to pay the full amount

21       it was obliged to pay for Mr. Frei's treatment. Plaintiff alleges that Health Net was

22       contractually obligated to pay for 75% of the charges Mr. Frei was billed for his

23       out-of-network treatment, but in fact Health Net paid only about 10% of those

24       charges. Compl.     61. Plaintiff alleges that, for a three-month period ending

25       August 18, 2016, these incurred but unpaid charges amounted to $116,850.00.

26       Compl. If 74.
27             6.     Because Health Net allegedly underpaid for Behavioral Health and

28       Substance Use Disorder (BH/SUD) services, Mr. Frei allegedly accrued significant
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  1    debts through the practice of "balance bill[ing]." See Compl. ^ 53. Balance billing

  2    refers to the practice of medical providers billing patients directly for amounts that

  3    the patient's insurance does not pay.

  4            7.    Plaintiff further alleges that, as a result of Defendants' alleged

  5    underpayment practices, Mr. Frei was forced to switch facilities frequently, which

  6    impaired his recovery. Compl.
                                  |  80. Mr. Frei died in May 2017. Id.

  7            8.    Based upon the above conduct, Plaintiff brings six causes of action:

  8                  a.    Violation of California's Unfair Competition Law, Cal. Bus. &

  9                        Prof. Code § 17200 et seq., see Compl. f 126-127;

10                   b.    Violation of California's False Advertising Law, Cal. Bus. &

11                         Prof. Code § 17500 et seq., see Compl. f 142;

12                   c.    Violation of California's Consumer Legal Remedies Act, Cal.

13                         Civ. Code § 1750 et seq., see Compl.       152;

14                   d.    Breach of Contract, Compl. *f[ 169;

15                   e.    Breach of the Implied Covenant of Good Faith and Fair Dealing,

16                         id. 1166; and
17                   f.    Declaratory Relief, id. f 179.

18             9.    Federal jurisdiction exists over this case under the Class Action

19     Fairness Act, 28 U.S.C. § 1332(d).

20     II.     THIS REMOVAL IS PROCEDURALLY PROPER
21             10.   This notice of removal is timely under 28 U.S.C. § 1446(b)(1), as the

22     date of filing is within 30 days of the date of service on all defendants, May 23,

23     2018.

24             11.   Venue is proper in the Central District of California under 28 U.S.C. §

25     1441(a) because the district encompasses Los Angeles County.

26             12.   All defendants consent to this removal.

27             13.   Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all of the

28     pleadings filed in the State Court are attached hereto as Exhibit A.
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  1           14.      A copy of the written notice required by 28 U.S.C. § 1446(d), attached

  2    hereto as Exhibit B, is being filed in the State Court and will be served on Plaintiff.

  3    III.   FEDERAL JURISDICTION EXISTS UNDER CAFA
  4           15.      CAFA grants district courts original jurisdiction over class actions

  5    where there is minimal diversity, the putative class contains at least 100 members,

  6    and the amount in controversy exceeds $5 million. 28 U.S.C. § 1332(d)(2), (5).

  7    For notice of removal purposes, the defendant need only make "a plausible

  8    allegation that the amount in controversy exceeds the jurisdictional threshold."

  9    Dart Cherokee Basin Operating Co. v. Owens, 135 S. Ct. 547, 554 (2014).
10            16.      Plaintiff is a California citizen. Compl.     1. She brings suit as the

11     successor in interest of Chase Frei, who was a California citizen at the time of his

12     death. See Compl. ^ 47, 51, 61; Decl. of Patricia Mitchell ^ 2 & Ex. 1.

13            17.      Defendant Centene Corporation is a Delaware corporation whose

14     principal place of business is in Missouri. Compl.          6. Centene Corporation is

15     therefore a citizen of Delaware and Missouri. 28 U.S.C. § 1332(c)(1).

16            18.      The minimal diversity requirement is met, because Centene

17     Corporation is not a citizen of the same state as Plaintiff or Plaintiffs decedent.

18     See 28 U.S.C. § 1332(d)(2)(A).
19            19.      Plaintiff defines the proposed class as "[a]11 California residents who

20     purchased a Health Net PPO Policy on or after October 1, 2013, and prior to 2017."

21     Compl.       112. Plaintiff alleges that the class contains "thousands of persons."

22     Compl. 1114. Therefore, the proposed class, if one is determined by this Court to

23     exist, has more than 100 members.

24            20.      Defendants deny that Plaintiff is entitled to any relief, but for amount-

25     in-controversy purposes, the Court must assume that Plaintiff succeeds on her

26     claims. See Lewis v. Verizon Comm.'ns, Inc., 627 F.3d 395, 400 (9th Cir. 2010)

27     ("The amount in controversy is simply an estimate of the total amount in dispute,

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  1    not a prospective assessment of defendant's liability.") Under this standard,

  2    Plaintiffs complaint meets the $5 million amount-in-controversy requirement.

  3           21.   Plaintiff alleges that Defendants used inapplicable reimbursement rates

  4    that allowed them to underpay for BH/SUD care, thus increasing the class's out of

  5    pocket expenses. Compl. f 73. Through "balance bill[ing]," BH/SUD providers

  6    allegedly passed along to Plaintiff and the class the difference between the actual

  7    reimbursement and the reimbursement that Plaintiff alleges was required. Id. ^ 53,

  8    71. Thus, Plaintiff seeks to recover out-of-pocket expenses based upon these

  9    alleged underpayments. See id., Prayer for Relief^ 4 (requesting "damages" for

10     "failure to provide coverage under the contracts").

11            22.   Plaintiff alleges that Defendants improperly reduced payments from

12     75% of billed charges to about 10% of billed charges, causing patients to accrue

13     charges. Compl. f 71. Plaintiff alleges that Mr. Frei accrued over $115,000 in
14     charges over a three-month period in 2016. Id.    74. If even 50 other Health Net

15     customers had similar alleged claims, the amount-in-controversy requirement

16     would be met from this as well.

17            23.   As an indication of what Plaintiff considers the magnitude of the

18     alleged underpayments, Plaintiff alleges that Defendants had incurred a $390

19     million liability for unpaid BH/SUD claims in California by March 2016. Compl. f

20     98.i

21            24.   Plaintiff also alleges that class members have paid "inflated

22     premiums" based upon the alleged under-coverage of BH/SUD care. Id. f 128.

23     Defendants deny that class members paid inflated premiums, but the premiums paid

24     by the class over the period for which Plaintiff claims damages are many times

25     larger than $5 million. See Lewis, 627 F.3d at 399 (holding that amount in

26     1While Defendants dispute that the $390 million reserve related entirely BH/SUD
       claims, the allegations m the Complaint control for amount-in-controversy
27     purposes. See Cain v. Hartford Life and Accident Ins. Co., 890 F. Supp. 2d 1246,
       1249 (C.D. Cal. 2012) ("[A] court must assume that the allegations or the complaint
28     are true.").
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  1    controversy over claims of allegedly unauthorized billing included all billed

  2    amounts; defendant did not need to make initial demonstration of which amounts

  3    were unauthorized).
  4          25.    Plaintiff further requests a declaration regarding the parties' respective
  5    rights concerning, among other things, the reimbursement rate at which Defendants
  6    will be obligated to pay future claims. Compl.      179-180. "In actions seeking

  7    declaratory or injunctive relief, it is well established that the amount in controversy

  8    is measured by the value of the object of the litigation." Cohn v. Petsmart, Inc.,

  9    281 F.3d 837, 840 (9th Cir. 2002) (internal quotation marks omitted). Defendants

10     deny that Plaintiff is entitled to a declaration establishing a different payment
11     methodology than the one they now use—a methodology the State of California has

12     approved. But if a declaration were granted increasing Defendants' reimbursement

13     rate, as Plaintiff seeks, then Defendants would be forced to increase their out-of-

14     network BH/SUD reimbursements by over $5 million going forward.

15           26.    Finally, Plaintiff claims both punitive damages and attorneys' fees.

16     See, e.g., Compl.     138, 163 (attorneys' fees); 139 (punitive damages).

17     Defendants deny that Plaintiff is entitled to punitive damages or attorneys' fees, but

18     both are properly included in the amount in controversy. See, e.g., Adkins v. J.B.

19     Hunt Transport, Inc., 293 F. Supp. 3d 1140, 1147-48 (E.D. Cal. 2018). For
20     amount-in-controversy purposes, courts commonly consider punitive damages at a

21     one-to-one ratio to economic damages, see Sloan v. 1st Am. Auto. Sales Training,

22     No. 2:16-cv-5341, 2017 WL 1395479, at *3 (C.D. Cal. Apr. 17, 2017), and assume

23     attorneys' fees equal to 25% of economic damages, see Heejin Lim v. Helio, LLC,

24     No. 1 l-cv-9183, 2012 WL 359304, at *3 (C.D. Cal. Feb. 2, 2012).

25           27.    For the above reasons, CAFA provides jurisdiction over this case.

26     IV.   CONCLUSION
27           Pursuant to 28 U.S.C. §§ 1441, 1446, and 1453, Defendants hereby remove

28     the above-captioned matter to the United States District Court for the Central
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  1    District of California.

  2    Dated: June 20, 2018          MANATT, PHELPS & PHILLIPS, LLP
  3

  4
                                     By: /s/ John M. LeBlanc
  5                                        John ML LeBlanc
                                           Attorneys for Defendants
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  1
                                   CERTIFICATE OF SERVICE
  2
                I, Brigette Scoggins, certify and declare as follows:
  3
                I am over the age of 18 years of age and am not a party to this action.
  4
                My business address is 11355 W. Olympic Boulevard, Los Angeles, CA
  5
       90064. On June 20, 2018,1 served a copy of the following:
  6
       NOTICE OF REMOVAL
  7
  8    Daniel J. Callahan                                Attorneys For Plaintiff
  9    Edward Susolik                                    Patricia Mitchell, individually as
       Richard T. Collins                                successor in interest to Chase Frei, and
10     Damon D. Eisenbrey
                                                         on behalf of all others similarly situated
       CALLAHAN & BLAINE, APLC
11
       3 Hutton Centre Drive, 9th Floor
12     Santa Ana, CA 92707
       Phone: (714) 241-4444
13     Fax: (714)241-4445
14
15                    (BY MAIL) By placing such document(s) in a sealed envelope, with
                      postage thereon fully prepaid for first class mail, for collection and
16                    mailing at Manatt, Phelps & Phillips, LLP, Los Angeles, California
17                    following ordinary business practice. I am readily familiar with the
                      practice at Manatt, Phelps & Phillips, LLP for collection and
18                    processing of correspondence for mailing with the United States Postal
19                    Service, said practice being that in the ordinary course of business,
                      correspondence is deposited in the United States Postal Service the
20                    same day as it is placed for collection.
21
                I declare under penalty of perjury under the laws of the United States of
22
       America that the foregoing is true and correct.
23
                      Executed on June 20, 2018, at Los Angeles, California.
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25                                                                                            \

26                                           /   ~v~7'
                                                                   Brigette Scoggin^ U
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       320527316.1                                                         CERTIFICATE OF SERVICE
